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                                                                                          EXHIBIT 8


                       RESIDENTIAL SEilVICES AGREEMENT
                BETWEEN MISSISSIPPI DEPARTMENT OF CORRECTIONS
                                      AND
               EAST MISSISSIPPI CORRECTIONAL FACILITY AUTHOWTY

   This Residential Services Agreement is made and entered into on this     day of August 2012,
   with an effective date of July 19, 2012, by and between the MISSISSIPPI DEPARTMENT OF
   CORRECTIONS, located at 723 North Presidp.t..Street,_ Jacloon, Mississippi.3921:12.And   EAST
   MISSISSIPPI CORRECTIONAL FACILITY AUTHORITY, a public body corporate and politic
   created under the authority of House Bill 1719, Local and Private Laws of the 1996 Regular
   Session of the Mississippi Legislature with its mailing address being Post Office Box 1310,
   Meridian; Mississippi 39302.

                                          WITNESSETH:

   WHEREAS, the MDOC and the Authority desire to enter into a Residential Services
   Agreement effective July 19, 2012 for the ,operation. and management of a secure correctional
   facility for adult male inmates (hereinafter the "-Facility") located in Lauderdale County,
   Mississippi;

   WHEREAS, the Authority was created by Lauderdale County, Mississippi (the "Couhty")
   under the authority of the House Bill 1719, Local and Private Laws of the 1996 Regular Session
   of the Mississippi Legislature, as a public body corliorate and politic to, among other things,
   design, finance, OVVII and operate a correctional facility for MDOC's system in Lauderdale
   County, Mississippi (the "Facility");

   WHEREAS, pursuant to House Bill 1719, as amended, and Sections 47-5-943, 47+945 and
   Sections 47-5-1211 through 47-5-1227 of the Mississippi Code of 1972, as atnended, IvIDOC
   may contract with the Authority for the private incarceration of not more than one thousand
   five hundred (1,500) offenders at the Facility;

   WHEREAS, the Authority is authorized to contract with a private entity for the management
   and operation of the Facility; and on the recommendation and direction of IvIDOC has
   contracted with Management & Training Corporation ("MTC") for private management and
   operation of the Facility effective July 19, 2012; and

   WHEREAS, the Department desires to house up to one thousand five hundred (1,500) Inmates
   at the Facility, and the Authority agrees to accpt said Inmates.

   NOW, THEREFORE, for and in conSideration of the promises and the. mutual covenants
   colitained herein, the parties agree as follows:




                                               EXHIBrr

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                                              ARTICLE 1

                                             DEFINITIONS

   In addition to those terms defined in the Preamble and elsewhere herein, in this Agreement:

   AC4 — shall mean the American Correctional Association.

   ACA Standards —shall mean the ACA Standards for Adult Correctional Institutions (4'h Edition)
   (as same may be modified, amended, or supplemented in the future) published by ACA,

   Act — shall mean Sections 47-5-1201 et. seq., 47-5-943 et. seq., Mississippi Code of 1972, as
   amended, and House Bill 1719, Local and Private La:Ws of the 1996 Regular Session of Miss.
   Legislature.

   Additional Services —means those additional operational and management services required to
   be furnished to the Authority because of the changes in the ACA Standards, laws, government
   regulations, or judicial decisions which Cause an increase in the. cost of operating and inanaging
   the Facility.

   Agreement —means this Residential Services Agreement.

   "Authority" — means the East Mississippi Correctional Facility Authority.

   Contract — means this Agreement.

   Contract Monitor — means the person designated by IvIDOC, pursuant to Section 47-5-1223 of
   the Act to monitor compliance with this Agreemeqt.

   Facility — means the medium security correctional building(s) constructed in Lauderdale County,
   Mississippi, known as the "East Mississippi correctional Facility" plus any expansions made to
  .said buildings from time to time and its grounds.

  Facility Operator — means the private entity with whom the Authority contracts for the
  management and operation of the Facility, which is MTC effective July 19, 2012.

  Force Majeure —means the failure to perform any of the terms and conditions of this Agreement
  resulting from acts of God, storm, fire, casualty, war cn. national emergency.

  Inmate — shall include any male person ,committed in accordance with applicable laws of the
  State of Mississippi, and assigned to the Micility for incarceration therein pursuant to this
  Agreement.

  Inmate Day. —means each 24-hour period an Inmate is admitted to the Facility, plus the first day
  of incarceration, but not the last.




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   Inmate Information System — means that software utilized by the Facility Operator at the
   Facility.

   Inmate Per Diem Rate —means the fees payable by the Department pursuant to Section 6.1 of
   this Agreement.

   Inmate Population — means, as of a day, the total Inmate population reflected in the Midnight
   Strength Report for such day.

   Lease Agreement or Lease — means the Third Amended and Restated Lease Agreement between
   the Authority and MDOC, dated July 20, 2010 as may be amended at any time and from time to
   time without limitation.

   MDOC — means the Mississippi Department of Corrections.

   Parties — means MDOC and the Authority, jointly.

   Special Privileges —means rights, entitlements, rewards, or standards relaxation or reductibn to
   or for inmates which are different than. those requii.ed o'r approved by the Department, relevant
   federal authority or authorized mental Or physical health professional.

  Services Commencement Date — means the date on which the Authority shall begin providing
  management and operations services at the Facility .pursuant to this Agreement, which date shall
  be the first day that Inmates are assigned by MDOC and incarcerated by the Authority at that
  Facility under this Agreement.

   Standards —means the American Correctional Association Standards, applicable court orders,
   state laws and federal constitutional standards with any deviations or waivers from those
   standards in design or management that are necessary for the operation of this Facility. When
  .differences exist between the court requireibents and the ACA standards, the higher standard, as
  defined by MDOC, will prevail.

   tate — means the State of Mississippi and/or the Mississippi Department of Corrections, as
  applicable.

  Unforeseen Circumstances — means those acts Or occurrences beyond the reasonable
  contemplation. of the parties at the time of the execution of this Agreement which materially alter
  the financial conditions upon which this Agreement is based; provided that such acts 'shall not
  include (0 inflation as contemplated by Section 6.4, or (ii) acts within the control the part}i,
  claiming unforeseen circumstances.

  Use of Force —means force as contemplated by the ACA, Adult Correctional Institutions
  Standards and those set forth in- the Act (§47-5-1215 and Section 8 of House Bill 1719), as the
  same may be amended, from time to time.




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                                              ARTICLE 2

                                  TERM OF THE AGREEMENT

   SECTION 2.1        Term.

   A. The term of this Agreement shall be for a period of ten (10) years commencing on July 19,
   2012 and ending on July 18, 2022. This Agreement is subject to annual appropriations as set
   forth in Section 8.6 of this Agreement

   B. Either party may terminate this Agreement for convenience with ninety (90) days written
   notice.

                                              ARTICLE 3

                                              INMATES

   SECTION 3.1      Inmate Housing.

                                              at
   The Authority agreea to provide hoUsing the Facility for Inmates, as provided in the Act. In
   the event that the Facility is expanded and/or more bed space becomes available, and subject to
  'approval by the State Legislature, if necessary, the Authority and the MDOC may agree to house
   as many additional Inmates as the expansion and/or additional bed space provides, Only MDOC
   Inmates shall be housed in the Facility unle;ss MPOC shall consent otherwise.

   SECTION 3,2       Assignment of Inmates.

  -MDQC agrees to assign to the Facility the Inmate custody and population levels described in
  Exhibit A. MDOC guarantees payment of 100 percent of the population levels listed in Exhibit
  A, regardless of the actual population level. MDOC will furnish to the Authority the following
  documentation:

  a)     Complete information and documentation relating to the Inmate's case history and
         physical, mental and clinical recprds that are in the custody of MDOC;

  b)     Applicable judicial and administrative rulings; the sentence or sentences for which the
         Inmate is confined;

  c)     Orders including transfers, relating or periaining to the Inmate;

  d)     Any other requested information which will assist the Authority in performing its duties;

  e)     The Authority agrees that all Inmate records are to remain confidential and are not to be
         released without the approval of MDOC, unless otherwise required by applicable laws,
         rules or regulations.




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   Upon release or transfer of an Inmate from the Facility, all of said Inmate's records furnislied by
   MDOC will be promptly returned to MDOC, without any cost to MDOC.

   SECTION 3.3        Delivery and Release of Inmates.

    *Upon proper. notification by MDOC and an authenticated cop.y of the mittimus .or other
    commitment .order, or any other official papers: or docuthents authorizing confinement, the
    Authority will transport the Inmate from any MDOC facility to the Facility. Once the Authority
  . has received the proper. court orders and/or IviDOC documentation regarding an Inmate's release
    from the Facility, then the Authority will process the Inmate for release in accordance with
   MDOC policies and procedures.

                                              ARTICLE 4

                                     OPERATION bF FACILITY

   SECTION 4,1        General Duties.

   The Authority shall cause the services listed herein to be performed by an agreement with the
   Facility Operator, who shell perform said services on behalf of the Authority. MDOC shall
  verify and confirm that the Facility Operator is in full compliance with the services and
  requirements contained herein. The Authority, by agreement with a private entity who shall act
  on behalf of the Authority, shall maintain and manage the Facility in compliance with applicable
  federal (including without limitation tax laws and regulations applicable to the Facility and its
  operation) and State laws, court orders and ACA Standards. If there exists a difference between
  the above standards and/or laws, the higher standard will be followed. All official
  communications shall be managed according tb policies to be adopted by all parties.

  The Authority will confine the Inmates sent by MDOC, and subject to Sections 4.7 and 4.8, give
  -them reasonable and humane care and treatment, provide appropriate programs and training,
  supervise them, and maintain discipline and control consistent with constitutional standards. The
  Authority will provide no Special Privileges to the Inmates and shall see that the sentences of the
  committing court in the State are faithfully executed.

  The Lease Purchase Agreement imposes certain obligations and duties upon MDOC and the
  Authority in the event that, a Residential Services Agreement is not in force and effect. To the
  extent any such duty (:p•obligation is not specifically addressed in this Agreement, MDOC shall
  retain and be responsible for performance of and compliance with such obligations and duties.

  SECTION 4.2        Admitting and Booking,

  The Authority shall be responsible for admitting and booking Inmates placed. in the Facility.
  Inmates will be admitted to the Facility under the tetms of this Agreement upon receipt of the
  appropriate MDOC documentation.




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    SECTION 4.3       Safety and Emergency Procedures.

    The Authority shall maintain procedures to provide for emergpncies such as labor disputes, riots;
    fire .and civil disaster and changes in such procedures shall be submitted to and approved by
    MDOC prior to implementation, which apprOval shall not be unreasonably withheld. The
    Authority shall operate and maintain the Facility in compliance with applicable federal, state and
    local safety and fire codes and in accordance with ACA Standards.

    SECTION 4.4       Sanitation/Hygiene/Accommodations.

    The Authority will implement policies and -procedures in conformity with applicable ACA
    Standards, regulations, laws and codes mandated by county, state and federal governmental
    agencies to ensure that the Facility meets sanitation standards. The Authority shall provide
    hygiene items in compliance with MDOC policies and procedures.

    SECTION 4,5       Recreation.

   The Authority will provide exercise and other activities in compliance with ACA Standards, The
   recreational program will include both indoor and outdoor activities.

   SECTION 4.6        Inmate Legal Assistance.

   The Authority shall establish and maintain an Office of Inmate Legal Assistance in accordance
   with MDOC policies and procedures consistent with ACA Standards and applicable court orders
   to include adequate and sufficient access to the courts.

   SECTION 43         Counseling/Mental Health,

   The Authority shall not be responsible or liable for providing counseling and/or mental health
   programs, which services shall be the responsibility of MDOC.

   SECTION 4.8        Medical/Dental.

   The Authority shall not be responsible or liable for providing medical, mental health, optometiy,
   pharmaceutical, dental or similar services, which services shall be the responsibility of MDOC,

   MDOC shall provide security and control of Inmates for outpatient needs and/or hospitalization.

   SECTION 4.9       Food Service.

   The Authority will provide food services in accordance with ACA Standards. At a minimum, the
   food service operation shall: provide a meal schedule, special diets meeting medical or religious
   requirements and three (3) meals served at regular times during each twenty-four (24) hour
   period. There shall be no more than fourteen (14) hours between the evening meal and breakfast.
   The Authority will provide for at least 2900 calories per day per Inmate, as certified by a
   nutritionist for the Authority and consistent with applicable MDOC policies and procedures.




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    SECTION 4.10     Clothing and Laundry,

   The Authority shall furnish all Inmate clothing in accordance with MDOC classification
   procedures and ACA Standards and replacement clothing, and will provide laundry Services for
   the Inmates.

   SECTION 4.11      Transportation.

   The Authority shall provide transportation services for (1) the Inmates, including delivery from
   an MDOC facility to the Facility, release from the Facility to MDOC, and transportation (to and
   from location only) for medical needs, and (2) transporting supplies to the Facility.

   SECTION 4.12 Inmate Canteen.

   The Authority will provide a canteen in accgrdance with ACA Standards and State law, The
   Authority will continue to interface with MDOC's canteen system. MDOC will reimburse the
   Authority for canteen-related expenses, pursuant to MDOC policy through the "Inmate Welfare
   Fund".

   SECTION 4.13     Mail,

   The Authority will provide delivery of mail to Inmates in the Facility in compliance with AA
   Standards, MDOC policy and procedures and applicable State or federal laws.

   SECTION 4.14 Religion.

   The Authority will provide adequate space within the Facility for religious services to be held
   and provide programs in compliance with applicable ACA Standard's, State and federal laws and
   applicable court orders, •

  SECTION 4,15 Facility Supplies.

   The Authority will provide facility supplies, which include general hygiene items, office
   supplies and building support items such as cleaning supplies, mops, buckets, linens, paper
   towels, etc.

   SECTION 4.16 Grievance Procedures.

  The Authority will provide Inmates with a means to pursue grievances in accordance with
  MDOC policy and procedure, State and federal law rules arid regulations, court orders and, other
  applicable laws. MDOC will provide appropriate forms for this purpose.

  SECTION 4.17 Visitation,

  The Authority shall provide physical space, tn.nittire, equipment, and supervision fot visitation
  in accordance with applicable ACA Standards and MDOC policy and procedures.




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   SECTION 4.18     Access to Courts.

   The Authority agrees to insure that Irunates have adequate access to the courts, consistent with
   applicable laws, court qrders, IvIDOC policy and procedures, rules and regulations of the State of
   Mississippi and constitutional standards.

   SECTION 4.19     Discipline.

   The Authority shall impose discipline utilizing MDOC policy and procedures, rules and
   regulations in accordance with constitutional standards. However, nothing therein will be
   construed as preventing the Authority from enacting rules and regulations, which shall be
   binding on the Inmates. Said rules and regulations shall be approved by MDOC.

   SECTION 4.20     Use of Force.

   Employees of the Facility Operator are authorized to use force only in accordance with
   applicable laws, MDOC policies and procedures, and rules and regulations of the State.
   Following any Use of Force, an incident report shall be ppppared and MDOC shall be notified
   pursuant to Section 4.23(c) by way of report.

   SECTION 4.21     Good Time/Gain Time.

  The Authority shall, provide specific information to MDOC in a timely manner in accordance
  with applicable laws, MDOC policies and procedures and rules and regulations of the State for
  the purpose of award or forfeiture of good time/gain time. The final decision on awarding or
  _forfeiture of good time/gain time rests with MDOC, although the Authority shah be responsible
  for providing information'as to performance and behavior of Inmates.

   SECTION 4.22 SentQnce Computation.

  The Authority shall provide MDOC with essential data and information relating to sentence
  computation in accordance with the MDOC policies and procedures, rules or regulations. The
  final decision with respect to sentence computation rests with the State. MDOC may furnish
  adjusted release dates to the Authority on a monthly basis, but in no event less than jive (5)
  business days prior to the adjusted release datq.

  SECTION 4.23     Records and Reports.

  a)     The Authority shall maintain Inmate institutional records in accordance with MDOCrs
         record keeping practices and shall adhere to applicable court orders, federal, State and
         local laws governing confidentiality. Upon request, all re9ords, reports and documents
         will be made available immediately to the Contract Monitor, MDOC, PEER, and the
         Attorney General for the State and their rOpective approved employees and/or agent§ for
         review. The Authority shall be reimbursed at the rate of .10 cents per page for providing
         copies of all records, reports and documents, requested by and made available to MDOC
         and the Attorney General for the State, excluding the type of document identified in




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         subsection "(c)" of this same section. Upon an Inmate's termination of confinement at
         the Facility, the Authority will forward a complete copy of the Inmate's records to
         MDOC at no cost.

         In the event that litigation is commenced by an Inmate (or his heirs or representatives)
         against the Authority, the Facility Operator or their respective employees, following
         termination of his confinement at the Facility, MDOC shall, upon request, immediately
         furnish to the Authority or the Facility Operator, as applicable, a complete copy of the
         Inmate's institutional records, including health records and such other records as the
         MDOC may have, pertaining to the Inmate.

   b)    MDOC shall furnish to the Authority each Inmate's institutional record (field jacket),
         and such other records as the Authority may request and/or MDOC has pertaining to
         the Inmate. All Inmate records are to remain confidential and are not to be released
         without approval of MDOC, unless otherwise required by applicable laws, rules or
         regulations.

   c)   The Authority will send to MDOC all incident reports within one (1) week of the
        incident, However, for reports inyelving escapes, use of deadly force, use of force in
        which an Inmate or staff is injured because of an escape, use of deadly force or use of
        force which requires medical treatnient (treatment in excess of first aid), major
        diSturbances or death of an Inmate, the Authority will send such incident reports to
        IvIDOC-irnmediately or as soon as reasonably possible after the incident.

   d)   The Authority shall provide MDOC access to its Inmate Information System.

   SECTION 424 Return of Inmates to Mb0C.

   a)   Upon demand by MDOC, the Authority will deliver to the custody of MDOC any
        Mississippi Inmate in accordance with applicable laws of the State of Mississippi.

  b)    Any Inmge who is released by court order, or is placed on probation or parole shall
        immediately be returned to MDOC, on behalf of the State.

  SECTION 4.25 Inmate Work.

  a)    The Authority will develop policies and procedures, which outline and describe those
        Inmates who qualify to work and/or participate in programs of occupational training at
        the Facility in accordance with relevant policies of MDOC.

  b)    Inmates shall be re.quired to work or participate in educational or vocational programs
        consistent with MDOC's policies and procedures. The Authority may not require an
        Inmate to participate in any training, industrial or other work when said assignment is
        contrary to the laws of the State.

  c)    The Authority will abide by all federal and State laws and all rules and/or regulations of
        MDOC regarding the sale of Inmate goods.




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    d)    On-the-job certification for training programs will be included in the Inmate work
          program.

   SECTION 4.26 Classification.

   a)     The Authority will maintain an inmate classification system, as required by MDOC
          policy and procedure, and report to the MDOC on the Inmate's condition, progress,
          conduct, adjustment, recommended retention at the Facility or return to the MDOC, The
          Authority may administratively transfer any Inmate to a higher security level for a period
          not to exced seventy-two (72) hours and any such action taken by the Authority shall be
          reported immediately to the MDOC.

   b)     MDOC shall have sole authority for the classification of Inmates and assignment
          of Inmates to, and removal of Inmates Prom, the Facility.

   SECTION 4,27 Hearings.

   Thy Authority will provide adequate faciilities for meetings and hearings by appropriate State
   authorities, including MDOC, the Parole Boffd and representatives of the Mississippi Attorney
   General's Office, and office space for a legal representative of IVIDOC.

   SECTION 4.28 Death of an Inmate.

   a)    In accordance with applicable laws, rules and regulations of the State, the Authority will
         report immediately to the State the death of any Inmate, furnish all information requested
         by the State, and follow the instructiOns of the State with regard to disposition of the
         body. The Authority will notify the relatives of the deceased Inmate, in compliance with
         MDOC policy and procedure(s).

   b)    The Authority shall not be responsible for any costs/expenses associated with the
         autopsy, burial, disposition or transportation related thereto of the Inmate's body.
   c)    The provisions of this section will not affect ale liability of any relative or other legally
         liable person for the disposition of the deceased or for any expenses therewith.

   d)    The Authority will forward to MDOC a certified copy of the death certificate and the
         Ilunate's file, subject to Section 4,23 (a).

   SECTION 4.29 Public Infonnation.

   a)    The Authority will promptly refer all requests for public information to the MDOC
         Director of Communication or to his/her designee.
   b)    The Authority will not release information regarding Inmates except to the extent
         required by applicable federal, State or local rules, regulations, laws or court orders.




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    b)      Nothing in this section prevents legitimate use of any information regarding the Inmates
            by prison or law enforcement personnel .in the event of an escape.

    SECTION 4.30 Legal Proceedings.

    a)      The State will defend at its expense any post-conviction actions, including appeals and
            writs of habeas corpus, by an Inmate challenging the underlying judginralt of convictitin
            or the calculation of the sentence imposed. MDOC. will be responsible for the defense of
            such action and shall defend and if permitted by law hold the Authority harmless.

   b)       The Authority will defend, at its expense, any actions filed against it, or any Of its
            employees, by, or related to, the Authority's care and security of the Inmates. The State
            will defend, at its expense, any actions filed against it and/or the Authority challenging
            the State's authority to transfer inmates fo the Facility or the housing of them at the
            Facility.

           The State will defend, at its expense, ally actions filed against it, or any of its employees,
           officers, agents, or servants challenging the constitutionality or enforcement of the
           policies) procedures, rules and/or regulations of the MDOC to which the MDOC requires
           the Authority and/or Facility Operator to adhere/comply; the MDOC will be responsible
           for any dnd all costs associated with the defense Of any such action.

   d)      Neither tht MDOC nor counsel representing the MDOC will, enter into any activity or
           settlement contract with respect to any claim, Which may adversely affect the Authority,
           or any claim, without first obtaining approval of the Authority.

   e)      gimilarly, neither the Authority nor counsel representing the Authority will enter into any
           activity or settlement contract with respect to any claim, -which may adversely affect the
           MDOC, or any claim, without first obtaining approval of the MDOC.

           The State shall defend, at its expense any actions arising out of the provision of medical.
           or mental health services or other services which are MDOC's responsibility under
           Section 4.7 and 4.8 above,

   SECTION 4.31      Inspections.

   The Contract Monitor, employees/agents designated by MDOC, the Governor of the State,
   members of the Mississippi Legislature and all members of the Executive and Judicial
   departments .of the State, may inspect the Facility, at all reasonable times, to determine if it
   maintains standards of care and discipline consistent with those of MDOC, that all Itimates
   therein are treated equitably, regardless of race, religion, color, creed or national origin and that
   all other terms of this Agreement are being followed. The State may, at all reasonable times,
   investigate in ,person, or by record review, all incidents or reported conditions of confinement
   involving the Inmates. The Authority agrees to cooperate fully with all such Investigations.

   SECTION 4.32 Telephone.




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    The Authority will provide telephone service for lumates that is consistent with MDOC's
    policies and procedures. Inmate phones shall be provided on a basis comparable to the IVIDOC'S
    -current Inmate phone service contracts. The proceeds from the telephone service shall be
    deposited into the MDOC Inmate Welfare Fund,

    SECTION 4.33 Escapes.

   In ease of escape from the Facility, the Authority will report the escape to MDOC immediately
   and MDOC will use all reasonable means to recapture the Inmate at the Authority's expense. If
   an Inmate escapes from the Facility and is thereafter found outside of Mississippi, it will be the
   responsibility of MDOC to extradite the Inimatei the costs associated with said extradition shall
   be the responsibility of the Authority. The Atithority shall reimburse MDOC for all directly
   attributable costs incurred by MDOC in attempting to redapture an inmate escaped from the
   Facility. Said reimbursement shall be for all out of pocket costs for MDOC that would otherwise
   not be incurred. Said payments shall include, but not be limited to, payments of overtime to
   employees, feeding, lodging and transportation. In the Emergency Procedures used by the
   Authority, the Mississippi Highway Patrol and the local county law enforcement agency will be
   notified immediately or as soon as possible according to the list of notifications.

    SECTION 4,34 Occupation and Maintenance of the Facility.

    The Authority shall maintain, preserve and keep the Facility in good repair, working ordei. and
    condition and shall, from time to time, make all repairs, replacements and improvements
    necessary to keep the Facility in constitutioria* adequate condition (subject to the following
    sentence). The Authority shall cause to be implemented a preventive maintenance, repair and
    replacement program On plumbing, electrical, mechanical, whin , and heating/cabling nd will.
    be responsible for the cost of such program up to                  per incident. MDOC shall be
    responsible for and bear the cost of ell other maintenance, epairs, replacements and renovations
    of the Facility, its physical plant, parts, equipment and/or systems. The Authority shall have the
    right, subject to prior approval of the mpoc, to remodel the Facility or to make additions,
    modific,ationa and improvements thereto; provided, that all such additions, modifications and
   improvements shall thereafter comprise part of the Facility, shall be the property of the Authority
    and shall be subject to the Lease Purchase Agreement, Such additionS, modifications and
   improvements shall not in any way damage the Facility, adversely reflect on or effect the
   services or conditions therein or cause it to be ueed for purposes or in any manner other than
   those authorized under the provisions of the Act, State and federal Law. The Facility, upon
   completion of any additions, modifications and improvements made pursuant to this Section,
   shall be of a value not less than the value of the Facility immediately prior to the making of stich
   -additions, modifications and improvements. The Authority will not permit any mechanic's or
   other lien to be established or remain against the Facility for labor or materials furnished in
   connection with any remodeling, additiensi modifications, improvements, repairs, renewals or
   replacements made by the Authority pursuant to this Section; provided that if any such lien is
   established, the Authority shall .first notify the State of the Authority's intention to do so, the
   Authority may in good faith contest any lien filed or establiMied against the Facility and, in such
   event may permit the items so contested to remain undischarged and unsatisfied during the
   period of such contest and any appeal therefrom unless the MDOC shall notify the Authority



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    that, in the opinion of MDOC legal counsel, by nonpayment of any such item the interest of the
    MDOC in the Facility will be materially endangered or the Facility or any part thereof will be
    subject to loss or forfeiture, in which event the Authority shall promptly pay and cause to be
    satisfied and discharged all such unpaid items or provide the MDOC with full security against
    any such loss or forfeiture, in form satisfactory to the Authority. The Authority will coopdate
    fully with the State, to the extent authorized by law, in any such contest, upon the request and at
    the expense of the Authority.
    The Authority's obligations hereunder shall expressly exclude any work or obligations of any
    nature associated or connected with the identification, abatement, cleanup, control, removal, or
    disposal of any hazardous materials that are or may be included in the struotures and equipment
    at the Facility or in the environment at and adjacent to the Facility, unless proven the hazardous
    materials were brought to the Facility by the Authority. MDOC will be responsible for doing
    whatever is necessary to correct the condition or render such materials or substahces harmless in
    accordance with all applicable laws. This paragraph will survive the termination or expiration of
    this Agreement.
    SECTION 4,35 Educational and Vocational Programming,

   The Authority shall provide access to services including, but not limited to, alcohol arid drug
   education program, Chp.plaincy, pre-release, literacy, arid other programs and services necessary
   to comply with applicable ACA Standards. The Authority shall provide adequate space for a
   minimum of five (5) programs, including vocational/educational programs.. All classrooms shall
   meet the relevant criteria established by the Mississippi Department of Education. The
   curriculum shall meet the Mississippi Department of Education's requirement for adult basic
   education.

   SECTION 436 Contract Monitor.

   A Contract Monitor shall be retained at all times while this Agreement is in effect. The Contract
   Monitor shall be hired by the Department and reimbursed by the Authority (at a total cost,
   including salary, benefits and all expenses, of $55,000 annually) and furnished appropriate office
   space at the Facility,

   The formal monitoring process shall include but not be limitFd to the following activities:

   1.      ongoing assessment of the Facility operations;

   2.      daily review of unusual incident reports (attempted escapes, major disturbances,
           assaults, etc.) and Inmate movement reports;

   3,      periodic Inmate interviews and surveys;

   4.      quarterly audits of Inmate records and files;

   5.      quarterly review of Facility financial reports and program progress reports;




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    6.       annual review of independent, qualified inspection reports which determine degree of
             conformance with fire, health, afety, and sanitation codes; and

    7.       annual comprehensive review.

    In conducting these activities, the Contract Monitor should assess and document areas of both
    contract conformance and non-conformance. In instances of the latter, the Monitor shall notify
    the Authority of any material violations, Citing the requirement violated, and specify the
    corrective action that should be taken and the sanctions that may result if the situation is not
    rectified. A follow-up inspection should assess and document the Authority's efforts to rectify
    the situation.

    Section 4.37   Purchases.

   The Authority agrees to comply with Mississippi Code Apnotated Section 47-5-572. The
   Authority shall not procure goods, to be used by inmates housed in Mississippi facilities, that
   have been manufactured using inmates in a correctional system of another state if Mississippi
   Prison Industries is presently manufacturing the same goods using Mississippi inmates, unless
   the cost of the goods and services can be procured at a price that is at least thirty percent (30%)
   less than the cost of the same goods and services provided by Mississippi Prison Industries
   Corporation.

                                                ARTICLE 5

                                              EMPLOYEES

   SECTION 5.1        Independent Contractor.

   The Authority, all related or participatory entities that are in any fashion or means, involved with
   providing any service or effort in complying with this Agreement and/or the operations of the
   Facility or its functions including, but not limited to the Facility Operator, and their employees
   and agents are associated with the State and Mq0C only for the purpose(s) and to the extent set
   forth in this Agreement. With respect to the performance of the services set out herein, the
   Authority and all those others referred to herein are and shall be independent contractors and,
   subject to the terms of this Agreement and the sole discretion of the Authority, shall have the
   right to manage, control, operate and direct the performance of the. details of all duties under this
   Agreement. The agents and employees of the Authority and those others referred to herein shall
   not accrue leave, retirement, insurance, bonding, use of the State vehicles or any other benefit
   afforded to employees of the State as a result of this Agreement,

   SECTION 5.2       Personnel.

   a)      The Authority shall provide professional personnel to deliver twenty-four (24) hour care
           and supervision to Inmates as such care is defined in this Agreement, as well as
           administrative and support service pqsonnel fbr the overall operation of the Facility, in
           accordance with ACA Standards. Prior to employment with the Authority, applfcants
           shall be subjected to a thorough background check and shall comply with MDOC



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                   policies and procedures relating thereto. Duririg employment, selected employees will
                   be drug tested on a random basis pursuant to the Authority policy. At no time shall the
f.
                   Authority employ a person who is simultaneously employed by the MDOC or who is a
                   former MDOC employee, without advance approval from MDOC, which approval shall
                   not be unreasohably withheld.
1
1          b)      Effective 120 days following the Services, Commencement Date, the Authority shall
i                  provide staffing in accordance with Exhibit "B" —Staffing Plan. Mandatory and Non-
I                  Mandatory positions will be subject to the following:
i
1 i. Mandatory Positions:
iIn the event a mandatory staff positioh vacancy occurs that exceeds four hours,
     the Authority shall remit to MDOC the mandatory staffing credit for each hour
     vacant. The mandatory staffing credit shall be calculated by mUltiplying the
     actual hourly wage rate of the identified position by 125. percent.

                  Li,    Non-Mandatory Positions:
                         In the event a non-mandatory staff position is vacant for sixty (60) days in a
                         twelve (12) month contract year period, the Authority shall remit to MDOC the
                         non-mandatory staffing credit of the identified position for each day vacant over
                         sixty (60) days, unless excused in writing by MDOC. The non-mandatory staffing
                         credit shall be calculated by multiplying the actual hourly wage rate of the
                         identified position by 125 pereenit.

                  i.i.i. Positions will not be considered vacant if covered by overtime, part-time or on-
                         call personnel.

           SECTION 5.3     Training.

           The Authority shall provide an orientation and training program for all employees. Said
           orientation and training program shall be in compliance with the training requirements of ACA
          .Standards. Training may be provided tluough the Authority academy using Authority
           ctirriculum.

          SECTION 5.4      Testing, for Contagious Diseases.

          The Authority shall meet all requirements of the State's rules, regulations, policies and
          procedures and mandates of the State Board of Health and policies and procedures of the State's
          Bureau of Preventive Health.

          SECTION 5.5. Background Check.

          MDOC shall cooperate with the Authority in conducting criminal checks on potential employees
          of the Authority and its subcontractors.

          SECTION 5.6      Compliance with Mississippi Employment Vrotection Act.




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    The Authority represents and warrants that it will ensure its compliance with the Mississippi
    Employment Protection ACT (Senate Bill 2988 from the 2008 Regular Legislative Session) and
    will register and participate in the status verification system for all newly hired employees. The
    term "employee" as used herein means any person that is hired to perform work vvi.,thin the State
    of Mississippi. - As used herein, "status verificaition system" means the Illegal Immigirion
    Reform and Immigration Responsibility Act of 1996 that is operated by the United States
    Department of liomojand Security, also known as the Er-Verify Program, or any other successor
    electronic verification system replacing the E-Verify-Program. The Authority agrees to maintain
   records of such compliance and, upon request of the State; to provide a copy of each such
    verification to the State. The Authority further represents and warrants that any person assigned
   to perform services hereunder meets the employment eligibility requirements of all immigration
   laws of the State of Mississippi, The Authority understands and agrees that any breach of these
   warranties may subject the Authority to the following: (a) termination of the Agreement anci
   ineligibility for any state or public contract in Mississippi for up to three (3) years, with notice of
   such cancellation/termination being inafle public., or (b) the loss of any license, permit
   certification or other document grante, to the. Authority by any agency, department, or
   governmental entity for the right to do business in Mississippi for up to one (I) year, or (c) both.
   In the -event of such termination/cancellation, the Authority would also be liable for any
   additional costS incurred by the State of Mississippi due to contract cancellation or loss of
   license or permit.

                                               ARTICI,E 6

                              -COMPENSATION AND ADJUSTMENTa

   SECTION 6.1       Authority Management Per Diem Payment.

   IvIDQC shall pay, in accordance with this Agreement, from any immediately available funds to a
   depository as designated by -the Authority the following:
   a)     The sum of           per Inmate Day for each minimum security inmate; 11.0for each
          medium security inmate,.and Millfor each single-cell security inmate. For purposes of
          this Agreement, the term "Inmate D,ay" shall mean each calendar day or part thereof that
          an Inmate is assigrled to the Facility as established by the Midnight Strength Report.
          IvIDOC guarantees payment of 100 percent of the population based on the inmate
          populations listed in Exhibit "A", MDOC will compensate the Authority the greater of
          the actual average monthly population by custody level, or the populations provided for
          in Exhibit A by custody level.
   b)     All reimbursable costs as set forth in §4.12, §4.23, §4.34, and §6.6, and other applicable
          provisions of this Agreement, including all time spent by MTC providing security bncl
          control of Inmates during outpatient and/or hospitalization visits (not including time
          spent transporting Inmates to and from medical locations).




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    SECTION 6.2      Billin4

    The Authority shall submit to MDOC a monthly statement for the number of Inmates assigned to
    the Facility or for the minimum guarantee, whichever is greater, (as indicated and subject to the
    provisions set forth in Section 6.1 (a)), and for other expenses incurred which are the
    responsibility of MDOC. Reimbursable expenses shall be billed one (1) month in arrears and
    will be due 45 days after receipt by MDOC. MDOC will use its best efforts to make all payments
    within 30 days after receipt of invoice. Payments not in dispute and not received by said date
    shall be subject to interest as provided by state law.

   The Authority agrees to accept all payments in United States currency via the State of
   Mississippi's electronic payment and remittance vehicle. MDOC agrees to make payment in
   c'teordance with Mississippi law on "Timely Payrtients for Purchases by Public Bodies," Section
   31-7-301, et seg. Mississippi Code Annotated, as amended, which generally provides for
   payment of undisputed amounts by MDOC within forty-five (45) days of receipt of the approved
   invoice.

   SECTION 6.3       Billing Disputes.

   If the amount to be paid to the Authority is disputed bjr MDOC, then MDOC shall immediately
   advise the Authority of the basis of the dispute and, in the manner provided above, pay he
   amount of such invoice, which is not in disptite. If the parties cannot resolve the dispute within
   thirty (30) days of such date that the Authority is advised of MDOC's dispute, either party may
   initiate dispute proceedings as provided herein.

   SECTION 6.4       Compensation Adjustments.

   .a)     The Authority will be paid a managernent per diem as set forth in Section 6.1. Nothing in
          .this Agreement shall bd construed to prevent the Authority from seeking an increase in
          the per diem from the Mississippi Legislature in order to offset any cost of living
          increases.

   b)     Pursuant to the Act, the costs of the operation provided hereunder must offer a cost
          savings of at least ten percent (10%) to MDOC calculated in accordance with the Act.
          The Joint Legislative Committee on Performance Evaluation and Expenditure Review is
          required to contract armually with a ceftified public accounting firm to establish a State
          inmate cost per day for a comparable State facility, which State inmate cost per day is to
          be certified annually and shall be used as the basis for measuring the validity of the ten
          percent (10%) savings. MDOC shall promptly advise. the Authority as to .the State Inmate
          cost Per day certified for each year as provided in the Act. Fees payable by MDOC
          hereunder for any year shall not exceed the maximum rate (the "Maximum Rate") which
          will result in a cost savings for Such year of at least ten percent (10%) to MDOC
          calculated in accordance with the Act, and in the event that fees as provided hereunder
          would exceed the Maximum Rate for any period, fees for such period shall be payable
          hereunder at the Maximum Rate rather than at the rate or rates computed in accordance
          with the otherwise applicable provisions hereof.




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                  Per diem rates provided for th Section 6.1 a) shall be increased based on per diem
                  rate adjustments as published in the Cost per Inmate Day PEER report, Price
                  changes will be reflective of the percent change from the prior report on the
                  applicable classifications of inmates in custody under each contact. Price
                  increases will be effective immediately following the publishing of the PEER
                  report which shall occur no less than bi-annually.

    c)     'Change in Scope of Services. MDOC recognizes that the Authority has entered into this
           Agreement to provide management services based upon current state add federal Ifiws
           and ACA Standards in effect as of the date of this Agreement. If there are any changes in
            ACA Standards, federal or state laws, gpvernment regulations, court orders or State
           policies which changes necessitate a chatige in the scope of services furnished hereunder
           so as to increase the cost of operating and inanaging the Facility or performing other
           services contemplated in this Agreement, the Authority shall be i)rovided extra
           compensation for the additional serVices required. The Change in Scope shall specifically
           include, blit not limited by, any Additional Services the Authority shall be required to
          perform outside the Authority's (Private Operator's) original proposal submitted May 31,
          2012, incorporated herein by refertince, due to previously enacted federal or state laws,
          government regulations,_ court orders, or State policies. The Authority shall provide
          reasonable notice in writing together with documentation or other information supporting
          the additional compensation to offset the increase in costs for furnishing the Additional
          Services. The State shall review this information and may provide the additional
          compensation, upon mutual agreemPnt of the parties, retroactive to the date the initial
          costs were incurred.

          d)      In the event the Authority receives a request from Lauderdale County or other
          local governing authorities for a ."fees-in lieu" of taxes or impact fees to be paid by the
          Facility Operator, the Authority shall notify the MDOC, which shall use its best efforts to
          obtain additional funding/compensation from the State to comply with such request(s).

   'SECTION 6.5      Failure to Agree on Compensation for Additional Services,

   If the parties cannot agree on compensation for Additional Services within sixty (60) days of the
   date the Authority requests such compensation, MDOC or the Authority may initiate resolution
   through dispute procedures provided herein.

   SECTION 6.6      apense Limitations

   In the event the actual cost for the follovving expense items exceeds the amount listed, MDOC
   agrees to reimburse the Authority for the difference between the amount identified below and the
   actual cost.

               Furniture, fixtures, equipment (inbluding vehicles), and building repairs, incurred
               within the first 120 days of the Service Commencement Date.           $1,000,000




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    SECTION 6.7       Utilities; Taxes.

    The Authority shall pay when due all utility charges, including without limitation all gas, water,
    steam, electricity, heat, power, telephone arid other charges incurred or imposed with respect to
    the Facility, from operating revenue and per diem.

    The Authority shall not be responsible f0: payment of property or excise taxes and other
    governmental charges which may be assessed or levied against the Facility.

    SECTION 6.8       Annual Audits.

   The Authority accepts the requirement of an annual audit by the State Department of Audit and a
   contract audit conducted by the CPA film selected by the Joint Legislative Committee oxi
   Performance Evaluation and Expenditure Review.

                                              ARTICLE 7

                               INDEMNIFICATION AND INSURANCE

   SECTION 7.1       Indemnification.

   a)      The parties understand that the current law may not allow the Authority to indemnify the
           State and/or MDOC under this Agreement; however, to the extent the law changes in the
           future, the Authority, by and through its contract with the Facility Operator, shall defend,
           indemnify, and hold harmless the State, MDOC, its officers, agents, servants, 44
           employees ("MDOC Indemnities") from any claim, demand, suit, liability, judgment, and
           expense (including attorney's fees and other costs of -litigation) (collectively, a "Claim")
           arising out of or relating to injuiy, dispse, or death of persons or damage to or loss of
          property resulting from or in connection with the performance of this Agreement by the
          Authority, the Facility Operator, its agents, employees, and subcontractors or any one for
          whom the Autority may be responsible. Notwithstanding the foregoing, the Authority
          shall have no obligation to insure, defend, indemnify, or hold harmless the MDOC
          Indemnities from any Claim arising out of or relating to any State or MDOC policy,
          order, internal management procedures, financial procedures, court orders, administrative
          rules, and governmental requirements of law, which govern the Authority relative to the
          custody and supervision of Inmates (collectively, "Imposed - Requirements"),
          Additionally, the obligations, incleinnities, and liabilities assumed by the Authority under
          this paragraph shall not extend to any liability caused by the negligence of the MDOC
          Indemnities. MDOC shall reasonably notify the Authority of any claim for which it may
          be liable under this paragraph.

   b)     The parties understand that the current law does not allow the State and/or MDOC to
          indemnify the Authority under this Agreement; however, to the extent the law changes in
          the future, the State and/or MDOC shall defend, indemnify, and hold harmless the
          Authority from any Claim arising out of or relating to injury, disease, or death of persons
          or damage to or loss of property resulting from or in connection with an Imposed
          Requirement or the performance of this Agreement by MDOC, its agents, employees and



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           subcontractors or any one for whom MDOC may be responsible, The obligations,
           indemnities, and liabilities assumed by MDOC under this paragraph shall not extend to
           any liability caused by the negligence of the Authority or its employees, The Authority
           shall reasonably notify MDOC of any claim for which it may be liable under this
           paragraph.
    e)     Neither party shall waive, release, or 'otherwise forfeit any possible defense the other
           party may have without the consent of such party relative to claims arising from or made
           in 'connection with the operation of the Facility by the Authority. MDOC and the
           Authority shall preserve all such available defenses and cooperate with each other to
           make such defenses available for each other's benefit to the maximum extent allowed by
           law.
   This Section will survive the expiration or termination of this Agreement.
   SECTION 7,2       Insurance.

   The Authority shall maintain, ot cause to he maintained, an adequate plan of insurance which
   shall include fire and casualty insurance for the full value of the building and at leas
   dollars                   of liability insurance as specifically required in the Act. Said insurance
   shall adequately:

   a)    protect the State of Mississippi from action § by a third party against the Authority and/or
         its. employees, agents, independent contractors, subcontractors and/or its board members,
         .or the State, as a result of this Agreement; and
   b)    protect the State of Mississippi against claims arising as a result of an occurrence during
         the term of this Agreement.

   SECTION 7.3       Certificate of Insurance.

   During the performance of this Agreement, the Authority shall maintain the plan of insurance
   and submit a Certificate of Insurance to MDOC , for the mutual protection and benefit of the
   Authority and MDOC, naming the State as an additional insured and entitled to all notices issued
   under such policy, to cover those claims set forth in Section 7.1, whether the same be by the
   Authority, a subcontractor OT by anyone directly or indirectly employed by any of them or by
   anyone for whose acts any of them may be liable.

   SECTION 7.4      Workers' Compensation and Unemployment Insurance Compensation.

   The Authority shall maintain such workers' compensation insurance and unemployment
   compensation as required by the laws of the State of Mississippi, and provide to MDOC a copy
   of the Certificate of Insurance.




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    SECTION 7.5       Defense/Immunity,

    By entering into this Agreement, MDOC does not waive any defense nor does the Authority
    waive any immunity, which may be extended to it by operation of law, including any limitation
    on the amount of damages.

    SECTION 7.6       Notice of Claims.

   Within five (5) working days after receipt of Summons or notice of claim by MDOC or any
   agent, employee or officer, pursuant to Which MDOC intends to exercise its indemnification
   right under Section 7.1, MDOC shall notify the Authority in writing of the commencement
   thereof. The notice requirement is intended to ensure that the .4uthority's defense of the claim is
   not harmed by failure to comply with any notice requirements. Failure to comply with said
   notice requirements can result in the Authority's refusal to indemnify, MDOC or any agent,
   employee or officer if such failure to notify results in a prejudice to the Authority, MDOC or any
   agent, employee, officer or independent contractor. The Authority will provide MDOC similar
   notice of claims.

                                                 ARTICLE 8

                                   DEFAULT AND TERMINATION

   'SECTION 8.1      Default by MDOC.

   Bach of the following shall constitute an Event of Default on the part of MDOC:

   a)   Non-Payment
        Failure by MDOC to make payments, except where such fail= is the direct result of non-
        appropriation of funds as described in Section 8.6 of this Agreement, to the Authority
        under this Agreement within forty-five (45) days after such payment is due, except for such
        payments as may be the subject of a valid dispute between the parties and said dispute is
        being actively negotiated or attempted to be resolved.

   b)   Other Material Breach
        Except for the obligation to make payments to the Authority, the persistent or repeated
        failure or refusal by MDOC to substantially fulfill any of its obligations under this
        Agreement, unless justified by Force Majeure, or excused by contract or by the default
        of the Authority.

   SECTION 8.2       Default by the Authority.

   Persistent failure or refusal by the Authority to substantially fulfill its obligations under this
   Agreement is an Event of Default on the part of the Authority, unless justified by Force Majeure,
   or excused by contract or by the default of MDOC.




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    SECTION 8.3       Notice of Breach.

    No breach of this Agreement on the part df either party shall constitute an Event of Default and
    no action with regard to same may be instituted unless and until the party asserting a breach
    specifies that a default or defaults exist(s) which, unless corrected or timely cured, will constitute
    a material breach of this Agreement on the part of the party against whom a breach is asserted.

    SECTION 8.4       Time to Cure.

   If any material breach of this Agreement by either party remains uncured more than thirty (30)
   days after written notice thereof by the party asserting the breach to the party against whom the
   breach is asserted, such condition shall be an Event of Default; provided, however, that if within
   thirty .(30) days after such notice, a substantial good faith effort to cure said breach has been
   undertaken by the paity against whom the breach has been asserted, said breach shall not be an
   Event of Default if it is cured within a reasonable time thereafter.

   In the event a material breach of the Agreement results in the creation of an immediate
   emergency life-threatening situation for the safety of the Inmates or the local community and the
   Authority has not moved to correct the breach in a manner appropriate to the emergency,
   MDOC, pursuant to its policies, may act to cure the immediate emergency threat and proceed
   with termination according to this section.

    If the breach cannot be cured within thirty (30) days after notice and such breach can be cured
    through an on-going effort on the part of the breaching party, the breaching party may, within
   :the thirty (30) day period following the notice of the breach, submit a plan for curing the breach
    within a reasonable period of time, not to exceed si. (6) months, unless extended by the non-
   'breaching party. If the plan is approved by the non-breaching party, the non-breaching party will
    not pursue remedies hereunder as long as the breaching party timely undertakes to cure the
    breach in accordance with the approved plan; such approval shall not be unreasonably Withheld.

   SECTION 8.5        Remedy.

    Upon the occurrence of an Event of Default, either party shall have the right to pursue any
   remedy it may have .a law or in equity, including but not limited to: (a) reducing its claim to
   judgment, (b) specific performance, (c) taking action to cure the Event of Default, and (d)
   termination of the Agreement. In the event that MDOC elects to terminate this Agreement as a
   result of the Authority's failure to perform its obligations pursuant to the terms of this
   Agreement, MDOC may assume operations of the Facility.

   SECTION 8.6       Termination due to Unawiilability of Funds.

   The payment of money by MDOC under any pirovisions hereto is contingent upon the
   availability of funds appropriated by the Legislature of the State to pay the sums pursuant to this
   Agreetnent. In the event funds for this Agreement beceme unavailable due to non-appropriation,
   the State shall have the right to terminate this Contract without penalty or obligation, except for
   the obligation to pay for services already provided.




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    SECTION 8.7        \Wiwi'.

    No waiver of any breach of any of the terms or conditions of this Agreement shall be held to be a
    waiver of any other or subsequent breach; nor shall ahy waiver be valid or binding unless the
    same shall be in writing and signed by the party alleged to have granted the waiver.

    SECTION 8.8        Termination for Convenience.

    Either party may terminate this Agreement for convenience with ninety (90) days prior written
    notice.

                                                 ARTICLE 9

                                             MISCELLANEOUS

   SECTION 9.1         Dis,putes,

     In the event that the parties are unable to resolve any issue related to this Agreement, the parties
     shall use their best efforts to settle such disagreement. To this effect, the parties shall consult and
     negotiate with each other in good faith and, recognizing their mutual interest, attempt to reach a
    just and equitable solution satisfactory to both parties. If the parties agree, they may engage a
     mediator to assist their good faith negotiations. If the parties do not reach such solution within
    -sixty (60) days from the date a party has notified the other party in writing of the disagreement,
    then, upon notice by either party to the other party, the disagreement shall be submitted to
   :arbitration administered by the American Arbitration Association (AAA) in accordance with its
   :Conn. neroial Arbitration rules and judgment on the award rendered by the arbitrator or arbitrators
    may be entered in any court having jurisdiction thereof. The arbitrator or arbitrators shall be
    appointed in accordance with the AAA Commercial Arbitration Rules, which provide for neutral
    arbitrators, and a number of arbitrators deemed al5,propriate by the AAA administrator. The
    parties hereto expressly agree that in negotiations and arbitrations that may arise hereunder, each
    party will cooperate and work toward a timely resolition, The prevailing party's reasonable
    attorney's fees and expenses shall be borne by the Unsuccessful party and may be included in the
    arbitrator's award.

   SECTION 9.2        Equal Employment Opportunity and Affirmative Action,

   The parties ascribe to principles of equal employment opportunity and affirmative action.

   SECTION 9.3        Binding Nature.

   This Agreement shall not be binding upon the parties until it is approved and executed by the
   parties. Thereafter, this Agreement shall be binding oh the parties and their heirs, successors and
   assigns.




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    SECTION 9.4       Invalidity and Severability.

   In the event that any provision. of this Agreement shall be held to be invalid, such provision shall
   be .null and void, and however, the validity of the remaining provisions of this Agreement shall
   not in any way be affected thereby.

   SECTION 9.5        Counterparts,

   This Agreement may be. executed in multiple counterparts, each of which shall be deemed to be
   ati original and all of which shall constitute bile Agreement, notwithstanding that all parties are
   not signatories to the original or the same counterpart, or that signature pages trom different
   counterparts are combined, and the signature of any party to any counterpart shall be deemed to
   be a signature also and may be appended to any other counterpart. A facsimile or electronic
   signature is considered an original hereunder.

   SECTION 9.6       Interpretation:

   The headings contained in the Agreement are for rieference purposes only and shall not affect the
   meaning or interpretation of this Agreement.

   SECTION 9.7       Terminolpgy and Definitions.

   All personal pronouns used in this Agreetnent, whether used in the masculine, feminine, or
   neuter gender, shall include all other genders; the singular shall include the plural and the plural
   shall include the singular.

   SECTION 9.8       Venue.

   This Agreement shall be inteipreted by the laws of the State of Mississippi. Venue is proper in
   court of competent jurisdiction in Mississippi.

   SECTION 9,9       Amendment.
   This Agreement shall not be altered, changed or amended except by mutual consent of the
   parties in writing.

   SECTION 9.10      Scope of Agreement.

   This Agreement incorporates all the agreements, covenants and understandings between the
   parties hereto concerning the subject matter hereof, and all such covenants, agreements and
   understandings have been merged into this written ht.greement. No prior, agreement or
   understandings, verbal or otherwise, of the parties or their agents shall be valid or enforceable
   unless embodied in this Agreement.




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    SECTION 9.11     Subcontracting and Assignment,

    The Authority may, upon approval by MDOC, assign or subcontract its rights or obligations
    under this Agreement. The Authority shall remain responsible for seeing that any subcontractor
    or assignee fulfills the provisions of this Agreemeht.

    SECTION 9.12     Emergency Management Plan.

   The Authority will develop policies and procedures regarding a plan for the transfer of the
   Facility to MDOC in the event that labor disputes or ariy natural disaster makes it unfeasible for
   the Authority to perform its duties.

   SECTION 9.13      Existing Agreements.

   Nothing in this Agreement abrogates or impairs any other agreement for the confinement,
   rehabilitation, or treatment of Inmates now in effect between MDOC and any other State agency
   or public body.

   SECTION 914 Internal Relations.

   Nothing in this Agreement affects the internal relations of the parties and their respective
   'departments, agencies, or subdivisions.

   SECTION 9.15      Third Party Rights,

   The provisions of this Agreement are for the sole benefit of the parties hereto and shall not be
   construed as conferring any rights on any other person, except MTC.

   SECTION 9.16      Notices.

   All notices called for or contemplated hereunder shall be in writing and shall be deemed to have
   been duly given when personally delivered or 4 hours after mailed to each party by certified
   mail, return receipt requested, postage prepaid, addressed as set forth below:

   MDOC:                                   Mississippi Department of Corrections
                                           723 North President Street
                                           Jackson, Mississippi 39202

   The Authority:                          East Mississippi Correctional Facility Authority
                                           Post Office Box 1310
                                           Meridian, Mississippi 39302
                                           Attn: Fred M. Rogers, President

   With a copy to:                     Hanimack, Barry, Thaggard and May, LLP
                                       Post Office Box 2009
                                       Meridian, Mississippi 39302-2009



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            IN WITNESS WHEREOF, the parties hereto have executed this agreanent as of the
          of August, 2012.

                                        MISSISSIPPI DEPARTMENT 0           ORRECTIONS:


                                                   Christopher B. E1)j3COmnliSSiOncr
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   VIDOC LELI11L
                                        EAST MISSISSIPPI CORRECTIONAL FACILITY
                                        AU" -10RITY

  APPRO EDFOR SIGNATURE                 By:                   •Smr--\ .
                                                          "'red M. Rogers, Pres e


   STATE OF MISSISSIPPI
   COUNTY OF LAUDERDALE

           BEFORE ME, the undersigned authority within and for the above jurisdiction, this day
   personally appeared Fred M. Rogers, known to me to be the President of the East Mississippi
   Correctional Facility Authority, who duly acknowledged that he, being thereto duly authorized,
   signed, executed and delivered the above instrument,

              WITNESS my signature and official sea,i, this the       day of           , 2012.


                                                   NOTARY PUBLIC
   My Commission Expires:



   STATE OF MISMRPI
   COUNTY OF 1--h

          BEFORE ME, the undersigned authority within and for the above jurisdiction, this day
   personally appeared Christopher B. Epps, Commissioner of the Mississippi Department of
   Corrections, who duly acknowledged that he, being thereto duly authorized, signed, executed
   and delivered the above instrument.

              WITNESS my signature and official seal, this the        day of 5.p-Wvt, 2012,

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                          Inmate Custody and Ottarai)teecl Pepulation Levels



   Minimum Custody. -11.1nmates,
   Medium Custody -111111nmates
   Single Cell Custody anmates

   Notwithstanding.the numbers listed above, at a minimum, IVIDOC shall be considered to have
   met the guaranteed inmate population levels if the actual payments to MTC shall be equal to K
   greater than $17,893.833 for each contract year.




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